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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                     X
JOHN P. “JACK” FLYNN and LESLIE A.                    :
FLYNN,                                                :    Case No. 1:21-cv-2587-GHW-SLC
                                                      :
       Plaintiffs,                                    :    Hon. Gregory H. Woods
                                                      :    United States District Judge
       vs.                                            :
                                                      :    PROPOSED ORDER FOR
CABLE NEWS NETWORK, INC.,                             :    ADMISSION PRO HAC VICE
                                                      :
       Defendant.                                     :
                                                     ::
                                                      :
                                                     X


       The Motion of Meenakshi Krishnan for admission to practice pro hac vice in the above-

captioned action is granted.

       Applicant has declared that she is a member in good standing of the Bar of the District of

Columbia; and that her contact information is as follows:

                       Meenakshi Krishnan
                       Davis Wright Tremaine LLP
                       1301 K Street, N.W. – Suite 500 East
                       Washington, DC 20005
                       Tel: (202) 973-4200
                       meenakshikrishnan@dwt.com

       Applicant having requested admission pro hac vice to appear for all purposes as counsel

for defendant Cable News Network, Inc. in the above-entitled action;

       IT IS HEREBY ORDERED that applicant is admitted to practice pro hac vice in the above

captioned case in the United States District Court for the Southern District of New York.

       All attorneys appearing before this court are subject to the local rules of this court, including

the Rules governing discipline of attorneys.

Dated: ___________
                                               United States Magistrate Judge
